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                         IN THE UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION

                                              Case No.:

 ISNALVI GALINDO LOPERENA
 Aka, ISNALVI CONTRERAS                                       Magistrate:

         Plaintiff,

 v.

 OFFICER NICHOLIS JOSEPH WHITEMAN
 individually,
 RICK RAMSAY, as sheriff of Monroe County
        Defendants.
 _________________________________________/

                                           COMPLAINT

 Plaintiff, Isnalvi Galindo Loperena aka Isnalvi Contreras, by and through her undersigned

 counsel, hereby sues Defendant, Deputy Sheriff NICHOLIS JOSEPH WHITEMAN,

 individually, and Rick Ramsay, as Sheriff of Monroe County and in support thereof states:

                                        INTRODUCTION

 1. This is an action on behalf of Plaintiff, Isnalvi Galindo Loperena, (hereinafter LOPERENA)

      whose Fourth Amendment rights were violated when she was accosted by Monroe County

      Sheriff’s Officer Nicholis Joseph Whiteman, (hereinafter WHITEMAN), in violation of her

      civil rights secured by the United States Constitution and in violation of Florida common

      law.

 2. This action for money damages is brought pursuant to 42 U.S.C. Sections §1983 and §1988,

      the Fourth Amendment to the United States Constitution, and under the laws of the State of

      Florida against WHITEMAN in his individual capacity while acting under color of law as a


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    Monroe County Deputy Sheriff and against Sheriff Rick Ramsay as Sheriff of Monroe

    County (hereinafter SHERIFF), and the employer of WHITEMAN.

 3. It is alleged that WHITEMAN engaged in one or more of the following acts: battery, and

    excessive use of force.


                                  JURISDICTION AND VENUE

 4. This action is brought pursuant to 42 U.S.C. §1983, the Fourth Amendment of the United

    States Constitution and the laws of the State of Florida.

 5. The jurisdiction of this Court is predicated on U. S. C. §§ 1331, and 1342(a) (3) and the

    supplemental jurisdiction of this Court under 28 U.S.C. §1367(a).

 6. Venue is placed in the United States District Court for the Southern District of Florida

    because it is where all the parties reside and where the events complained of occurred.

 7. All conditions precedent to the maintenance of this action have been performed or have

    occurred prior to its institution including those set forth in Florida Statute Chapter 768.28.



                                         PARTIES
  8. At all times material hereto LOPERENA was a resident of Monroe County and at the time

     of the events described in this complaint is sui juris.

 9. At all times relevant hereto and in all actions described herein, Defendant WHITEMAN was

   acting under color of law as deputy sheriff, and in such capacity, as the agent, servant and

   employee of the Monroe County Sheriff’s Office.

 10. At all times material SHERIFF is the duly elected Sheriff of Monroe County, Florida.

   SHERIFF is responsible for the conduct of the deputies in his employ and for ensuring that his

   deputies and agents obey the laws of the State of Florida and the United States. Defendant


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   SHERIFF is being sued in his official capacity as Sheriff of Monroe County and therefore,

   said Defendant is synonymous with the Monroe County Sheriff’s Office.



                                    STATEMENT OF FACTS

 11.      On or about Sunday July 6th, 2014 at approximately 8:00 P.M. LOPERENA was

 swimming at Sombrero Beach, in Marathon, FL. She was with her friend Jose Manuel De

 Armas.

 12.      WHITEMAN resides in a Monroe County owned property and receives reduced rent at

 his habitation in exchange for providing security for Sombrero Beach in addition to securing the

 gates to the property after the closing hour of 8 p.m. WHITEMAN locks and secures the beach

 on a daily basis.

 13.      At some point close to the closing hour of the beach, WHITEMAN and his then 9 year

 old daughter went with WHITEMAN to the beach, to secure and close the gates

 14. WHITEMAN saw LOPERENA and De Armas in the water and while he was approximately

 30 yards away yelled at them to leave the beach. WHITEMAN was in plain clothes and did not

 have his gun, badge nor any other official Sheriff’s Office identification on his person.

 15. LOPERENA noticed that the male yelling at her was already angry for a reason she did not

 know. LOPERENA and Mr. De Armas exited the water as ordered.

 16. LOPERENA was covered in sand and began walking in the direction of the showers in order

 to rinse off before walking outside the beach gate. The showers were not far from the exit.

 17. As LOPERENA walked to the showers WHITEMAN continued to yell aggressively at

 LOPERENA to leave the beach. Due to the forceful nature of the commands LOPERENA

 changed direction and exited the beach and walked outside the gate.


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 18. LOPERENA walked by her parked car and heard WHITEMAN yell to his daughter to go get

 his badge and his gun. At the time WHITEMAN yelled this directive to his daughter

 LOPERENA was no longer on the beach and had already complied with WHITEMAN’s order

 even though WHITEMAN had never stated he was a police officer. Once off the beach the

 surface of the area was concrete.

 19. LOPERENA turned towards WHITEMAN’s daughter who was standing approximately 10

 feet away and repeated WHITEMAN’s words and said “yes go get his badge and his gun.”

 20. WHITEMAN then immediately attacked LOPERENA and did a maneuver where he tossed

 LOPERENA in the air and LOPERENA landed on her face and chest severely bruising

 LOPERENA’s face and breast; taking the skin off large portions of her face and breasts.

 LOPERENA’s head also hit the concrete causing a closed head contusion.

 21. At the time of the assault by WHITEMAN, LOPERENA had committed no crime, made no

 threat to WHITEMAN or his daughter and was un-armed.

 22. LOPERENA was transported to Fisherman hospital by ambulance where she was treated for

 her injuries including a closed head contusion, numerous facial lacerations, breast lacerations and

 shoulder lacerations.



                                           COUNT I
                                        Excessive Force
                         42 U.S.C. §1983 Fourth Amendment Violation
                                against Defendant WHITEMAN


 23.    PLAINTIFF repeats and realleges Paragraph 11-22, and incorporates them by reference

        herein.




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 24.   This cause of action is brought by LOPERENA, against WHITEMAN for his use of

       excessive force under the color of law that deprived LOPERENA of constitutionally

       protected rights under the Fourth Amendment to the United States Constitution.

 25.   WHITEMAN violated Title 42 U.S.C §1983 by inflicting severe injury upon

       LOPERENA that was grossly disproportionate to the force necessary to arrest, detain or

       instruct LOPERENA in violation of her rights under the Fourth Amendment to the U.S.

       Constitution.

 26.   WHITEMAN while acting in his capacity as a sheriff’s deputy for Sheriff Rick Ramsey

       of the Monore County Sheriff’s Office and under the color of law, did intentionally exert

       excessive force by flipping LOPERENA on the concrete ground on her face head and

       shoulder in such a manner that PLAINTIFF suffered serious bodily injury.

 27.   WHITEMAN while acting in his capacity as a sheriff’s deputy for the Monroe County

       Sheriff’s Office and under the color of law, did intentionally exert excessive force by

       battering LOPERENA when there was no need to use any force.

       WHEREFORE, LOPERENA prayerfully requests that this Honorable Court grant the

       following relief against the Defendant officer WHITEMAN:

              A. Compensatory Damages;

              B. Pain and Suffering;

              C. Attorney fees and costs under 42. U.S.C. 1988;

              D. Actual Damages; and

              E. Any other such alternative and additional relief that appears to the Court to be

                 equitable and just.

                                          COUNT II
                               State Tort of Assault and Battery

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                                 (Against Defendant SHERIFF)


 28.   LOPERENA repeats and realleges Paragraphs 11 through 22 and incorporates them by

       reference herein.

 29.   Defendant SHERIFF though its employee WHITMAN caused bodily harm to

       LOPERENA by physically battering LOPERENA.

 30.   The actions of SHERIFF through its employee WHITMAN caused harm to

       LOPERENA. The aforementioned assault and battery was accomplished without consent

       and against the will of the LOPERENA.

 31.   Defendant SHERIFF is vicariously liable for the tortious actions of its employee that

       was committed within the scope and furtherance of his employment.

 32.   As a direct and proximate consequence of the acts of SHERIFF through his employee

       WHITMAN, LOPERENA sustained severe physical injury, humiliation, emotional

       distress, pain and suffering.

 33.   Pursuant to 768.28, Florida Statues, LOPERENA notified Defendant SHERIFF of this

       claim prior to filing this action and said claim was not resolved.

       WHEREFORE, PLAINTIFF prayerfully request that this Honorable Court grant the

       following relief against the Defendant CITY:

              A. Compensatory Damages;

              B. Pain and Suffering;

              C. Actual Damages; and

              D. Any other such alternative and additional relief that appears to the Court to be

                  equitable and just.




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                              DEMAND FOR JURY TRIAL

 PLAINTIFF, LOPERENA, hereby demands a jury trial as to all issues so
 triable.



 Dated: June 20, 2018                            Respectfully Submitted,

                                                 /s/ Gregory A. Samms
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